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9

10                          UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
     Bryan Estrada,                               Case No. 5:22-cv-201
13

14

15                    Plaintiff,                  COMPLAINT
16

17                    v.
18

19   AA U-Stor-M of Upland, LLC; Cameron
20   Properties, Inc.; Karl C. Findley and Does
     1-10, inclusive,
21

22

23
                Defendants.

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27

28                                          -1-
                                          COMPLAINT
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1
                               NATURE OF THE ACTION

2                 1.    This is an action seeking to remedy unlawful discrimination by
3    the Defendants against the Plaintiff in the Defendants’ places of public
4    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
5    12101, et seq.] (the “ADA”).
6

7
                                          PARTIES
8
                  2.    Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
9
     California, County of Riverside, who requires the use of a wheelchair for mobility
10
     purposes and who is therefore a “person with a disability” within the meaning of
11
     the ADA and Cal.Government Code § 12926.
12
                  3.    The Defendants (defined below) discriminate against
13

14
     people with mobility disabilities in the full and equal enjoyment of the goods,

15   services, facilities, privileges, advantages, or accommodations on the basis of their
16   mobility disability at the Subject Property (defined below) in violation of the ADA
17   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
18                4.    The Defendants' failure to make reasonable modifications in
19   policies, practices, or procedures when such modifications are necessary to afford
20   goods, services, facilities, privileges, advantages, or accommodations to
21
     individuals with disabilities prevented people with mobility disabilities from
22
     enjoying fair and equal access to the Subject Property (defined below) in violation
23
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
24
                  5.           Defendant, AA U-Stor-M of Upland, LLC, owns,
25
     operates, or leases real property located at 1675 W 11th St, Upland, CA 91786,
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28                                           -2-
                                           COMPLAINT
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1
     also known as San Bernardino County Assessor’s Parcel No. 1007-081-02 (the

2    “Subject Property”).
3                  6.    Defendant, Cameron Properties, Inc., owns, operates, or leases
4    real property located at 1675 W 11th St, Upland, CA 91786, also known as San
5    Bernardino County Assessor’s Parcel No. 1007-081-02 (the “Subject Property”).
6                  7.    Defendant, Karl C. Findley, owns, operates, or leases
7
     real property located at 1675 W 11th St, Upland, CA 91786, also known as San
8
     Bernardino County Assessor’s Parcel No. 1007-081-02 (the “Subject Property”).
9
                   8.    The Subject Property is a commercial facility open to the
10
     general public, is a public accommodation, and is a business establishment insofar
11
     as goods and/or services related to self-storage are made available to the general
12
     public thereat. Defendant Does 1 through 10, inclusive, are sued herein under
13

14
     fictitious names. Their true names and capacities are unknown to the Plaintiff.

15   When their true names and capacities are ascertained, Plaintiff will amend this
16   complaint by inserting their true names and capacities herein. Plaintiff is informed
17   and believes and thereon alleges that each of the fictitiously named Defendants are
18   responsible in some manner for the occurrences herein alleged, and that the harm
19   to Plaintiff herein alleged were proximately caused by those Defendants.
20

21
                              JURISDICTION AND VENUE
22
                   9.    This Court has jurisdiction over the subject matter of this action
23
     pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
24
     of the ADA.
25
                   10.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
26

27

28                                           -3-
                                           COMPLAINT
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1
     based on the fact that the real property that is the subject of this action is located in

2    this district and the Plaintiff’s causes of action arose in this district.
3

4                                  STATEMENT OF FACTS
5                  11.    Parking spaces, accessible aisles, paths of travel, signage,
6    doorways, service counters, customer areas and goods/services are among the
7
     facilities, privileges and advantages offered by the Defendants to patrons of the
8
     Subject Property.
9
                   12.    The Subject Property does not comply with the minimum
10
     requirements of the ADA and is therefore not equally accessible to persons with
11
     mobility disabilities.
12
                   13.    In January, 2022 and continuously from that time to the
13

14
     Present, and currently, the Subject Property has not been in compliance with the

15   ADA (the “Barriers”):
16                        A.     The Subject Property lacks the minimum required
17   number of ADA compliant accessible parking spaces. There are none.
18                        B.     There was no diagonal striped marking and no blue
19   border around where an access aisle is supposed to exist adjacent to any designated
20   accessible parking space serving the Subject Property.
21
                          C.     The parking spaces provided at the Subject Property are
22
     smaller than permitted by the ADA.
23
                          D.     The parking spaces at the Subject Property do not
24
     provide accessible parking signage as required by the ADA. Among other things,
25
     they fail to provide tow-away signage and “Minimum Fine $250” signage as
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28                                             -4-
                                             COMPLAINT
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1
     required by the ADA and state law to be posted near the designated accessible

2    parking space(s).
3                        E.    The parking spaces at the Subject Property do not
4    provide the universal symbol of accessibility.
5                        F.    There is no twelve-inch high “NO PARKING” lettering
6    on any blue-striped parking access aisle(s) serving the Subject Property.
7
                         G.    There was no designated “van accessible” parking space
8
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
9
     going forward into the parking space and no sign or additional language stating
10
     “Van Accessible” below the symbol of accessibility located in a manner that is not
11
     obstructed.
12
                         H.    The ramp serving the primary entrance door at the
13

14
     Subject Property was inaccessible insofar as it is impermissibly steep.

15                       I.    There were no accessible paths of travel from public
16   transportations stops, accessible parking, public streets and sidewalks to the
17   building entrances serving the Subject Property.
18                       J.    The accessible paths of travel serving the Subject
19   Property contain areas where the slope exceeds the maximum slope permitted by
20   the ADA.
21
                   14.   Plaintiff personally encountered one or more of the Barriers
22
     at the Subject Property in January, 2022, including a lack of accessible parking
23
     spaces and parking access aisles. Plaintiff was prevented from parking for fear of
24
     being blocked in by another parked car and for lack of safe space to exit the
25
     vehicle to assemble and disassemble his wheelchair, thus denying him full and
26

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28                                           -5-
                                           COMPLAINT
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1
     equal access to the Subject Property and to the self-storage business located

2    thereat.
3                 15.    Between January, 2022 and the present, the Plaintiff had actual
4    knowledge of the existence of the Barriers at the Subject Property, which are
5    located in the parking areas, building approaches and outside the primary entrance
6    door to the self-storage office. On information and belief, based on a visual
7
     inspection, Plaintiff alleges that the Subject Property presents additional barriers,
8
     including but not limited to the following: the maneuvering clearance at the
9
     entrance door exceeds 2% slope [2010 ADAS § 404.2.4.4; 1991 ADAAG §
10
     4.13.6]; the transaction and customer service counter is too high in the self-storage
11
     office [2010 ADAS §§ 904.4.1 and 904.4.2; 1991 ADAAG § 7.2(1)]; the floor mat
12
     at the primary entrance door of the self-storage business is not secured in place
13

14
     [2010 ADAS § 302.2; 1991 ADAAG § 4.5.3]; the maneuvering clearance on the

15   pull side of the primary entrance door to the self-storage office extends less than 18
16   inches on the latch side [2010 ADAS § 404.2.4.1; 1991 ADAAG § 4.13.6].
17                16.    The existence of Barriers, the implementation of discriminatory
18   policies, practices and procedures, and other ADA violations at the Subject
19   Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
20   Property on a particular occasion between January, 2022 and the present.
21
                  17.    On information and belief, the remediation of violations
22
     identified hereinabove, to be identified by the Defendants in discovery, and to be
23
     discovered by Plaintiff’s experts are all readily achievable in that the removal of
24
     them by the Defendants is and has been easily accomplishable without much
25
     difficulty or expense.
26
                  18.    Defendants violated the ADA by failing to remove all mobility-
27

28                                            -6-
                                            COMPLAINT
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1
     related architectural barriers at the Subject Property. On information and belief,

2    Plaintiff alleges that the failure to remove barriers has been knowing, willful and
3    intentional because the barriers described herein are clearly visible and tend to be
4    obvious even to a casual observer and because the Defendants operate the Subject
5    Property and have control over conditions thereat and as such they have, and have
6    had, the means and ability to make the necessary remediation of access barriers if
7
     they had ever so intended.
8
                  19.    On information and belief, access barriers at the Subject
9
     Property are being consciously ignored by the Defendants; the Defendants have
10
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
11
     the ADA. Plaintiff further alleges on information and belief that there are other
12
     ADA violations and unlawful architectural barriers at the Subject Property that
13

14
     relate to Plaintiff’s mobility disability that will be determined in discovery, the

15   remediation of which is required under the ADA.
16                20.    Plaintiff hereby seeks an injunctive relief order for the
17   remediation and removal all barriers related to his mobility disability, including but
18   not limited to the Barriers, whether presently known or unknown. The Subject
19   Property is less than fifty miles from Plaintiff's primary residence, and Plaintiff is
20   in the Upland area regularly and consistently for personal reasons. Plaintiff intends
21
     to return to the Upland area at least several times within the next twelve months
22
     and will observe and confirm whether access barriers have been remediated and
23
     removed at the Subject Property. Plaintiff would benefit from barrier removal by
24
     having the equal opportunity to use the services provided at the self-storage
25
     business located at the Subject Property if it were made accessible to him, which
26
     he would be inclined to do if the need for self-storage products or services were to
27

28                                            -7-
                                            COMPLAINT
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1
     arise in the Upland area in the future. Plaintiff is presently deterred from

2    attempting to use the goods or services provided at the Subject Property because of
3    the Barriers.
4                    21.   Even if strictly compliant barrier removal were determined to
5    be structurally or otherwise impracticable, there are many alternative methods of
6    providing accommodations that are readily apparent and that could provide a
7
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
8
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
9
     conscious indifference to their legal obligations and to the rights of persons with
10
     mobility disabilities. Defendants’ failure to implement reasonable available
11
     alternative methods of providing access violates the ADA [42 U.S.C. §
12
     12182(b)(2)(A)(v)].
13

14
                     22.   The violations and references to code sections herein are not

15   all-inclusive. Plaintiff will amend this complaint to provide a complete description
16   of the full scope of ADA violations after conducting a comprehensive expert site
17   inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
18   that the barriers alleged herein violate one or more of the ADA’s implementing
19   regulations. The Defendants have maintained and continue to maintain
20   discriminatory policies, procedures and practices that disregard their obligations
21
     under the ADA by allocating resources for physical improvements to the Subject
22
     Property that were did not provide legally required accessibility improvements, by
23
     failing to conduct ADA self-inspections or create ADA compliance plans
24
     regarding the Subject Property, by causing alterations to be made to the Subject
25
     Property in disregard of ADA requirements, and for failing and refusing to make
26
     necessary accommodations for persons with mobility disabilities at the Subject
27

28                                             -8-
                                             COMPLAINT
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1
     Property. Plaintiff seeks a declaration that the Defendants’ disability rights

2    compliance policies, procedures and practices are discriminatory and violate the
3    ADA.
4                              FIRST CAUSE OF ACTION
5
                              Discrimination Based on Disability
                                 [42 U.S.C. §§ 12101, et seq.]
6                             By Plaintiff against all Defendants
7

8                 23.    Plaintiff re-alleges and incorporates by reference as though
9    fully set forth herein the allegations contained in all prior paragraphs of this
10   complaint.
11                24.    The ADA obligates owners, operators, lessees and lessors of
12
     public accommodations to ensure that the privileges, advantages, accommodations,
13
     facilities, goods and services are offered fully and equally to persons with
14
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
15
     12182(a)].
16
                  25.    Discrimination is defined in the ADA, inter alia, as follows:
17
                         A.     A failure to remove architectural barriers where such
18

19
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
20   barriers are identified and described in the Americans with Disabilities Act
21   Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
22                       B.     A failure to make alterations in such a manner that, to the
23   maximum extent feasible, the altered portions of the facility are readily accessible
24   to and usable by individuals with disabilities, including individuals who use
25
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
26
     the altered area and the bathrooms, telephones, and drinking fountains serving the
27

28                                            -9-
                                            COMPLAINT
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 1
      altered area, are readily accessible to and usable by individuals with disabilities [42

 2    U.S.C. § 12183(a)(2)].
 3                        C.    Where an entity can demonstrate that the removal of a
 4    barrier is not readily achievable, a failure to make such goods, services, facilities,
 5    privileges, advantages, or accommodations available through alternative methods
 6    if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
 7
                          D.    A failure to make reasonable modifications in
 8
      policies, practices, or procedures, when such modifications are necessary to afford
 9
      such goods, services, facilities, privileges, advantages, or accommodations to
 10
      individuals with disabilities, unless the entity can demonstrate that making such
 11
      modifications would fundamentally alter the nature of such goods, services,
 12
      facilities, privileges, advantages, or accommodations [42 U.S.C. §
 13

 14
      12182(b)(2)(A)(ii)].

 15                26.    The ADA, the ADAAG’s 1991 Standards (the “1991
 16   Standards”) and 2010 Standards (the “2010 Standards”), and the California
 17   Building Code (the “CBC”) contain minimum standards that constitute legal
 18   requirements regarding wheelchair accessibility at places of public
 19   accommodation:
 20                       A.    If parking spaces are provided for self-parking by
 21
      employees or visitors, or both, then the subject property must provide at least the
 22
      minimum required number of accessible parking spaces.Accessible parking
 23
      spaces must be marked to define their width and must have an adjacent ADA
 24
      compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 25
      and van parking spaces must be at least 132 inches wide except that van parking
 26
      spaces can be 96 inches wide where the access aisle is not less than 96 inches
 27

 28                                           -10-
                                            COMPLAINT
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 1
      wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the

 2    Subject Property does not comply with the ADA.
 3                       B.    To qualify as a reserved handicap parking space, the
 4    space must be properly marked and designated. Under the ADA, the method,
 5    color of marking and length of the parking space are to be addressed by state or
 6    local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
 7
      and 503].
 8
                         C.    To properly and effectively reserve a parking space for
 9
      persons with disabilities, each parking space must be at least 216 inches in length
 10
      [CBC § 11B-502.2].
 11
                         D.    Each parking space reserved for persons with disabilities
 12
      shall be identified by a reflectorized sign permanently posted immediately
 13

 14
      adjacent to and visible from each stall or space, consisting of the International

 15   Symbol of Accessibility in white on a dark blue background. The sign shall not be
 16   smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
 17   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
 18   the sign to the parking space finished grade. Signs may also be centered on the
 19   wall at the interior end of the parking space. An additional sign or additional
 20   language below the symbol of accessibility shall state "Minimum Fine $250"
 21
      [2010 Standards § 502.6; CBC § 1129B.4].
 22
                         E.    Signs identifying accessible parking spacesmust include
 23
      the International Symbol of Accessibility [2010 Standards §§ 502.6].
 24
                         F.    To properly and effectively reserve a parking space for
 25
      persons with disabilities, the surface of the access aisle must have a blue
 26

 27

 28                                          -11-
                                           COMPLAINT
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 1
      border; the words “NO PARKING” in letters at least a foot high must be

 2
      painted on the access aisle [CBC § 1129B.3].
 3                      G.    One in every eight accessible spaces, but not less than
 4    one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
 5    wide minimum placed on the side opposite the driver’s side when the vehicle is
 6    going forward into the parking space and shall be designated van accessible. Van
 7    accessible spaces must have an additional sign or additional language stating "Van
 8
      Accessible" below the symbol of accessibility. Signs identifying accessible
 9
      parking spaces must be located so they cannot be obscured by a vehicle parked in
 10
      the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
 11
      and B4].
 12
                        H.    Curb ramps must have a running slope no steeper
 13
      than 1:12 [1991 Standards § 4.7.2; 2010 Standards § 405.2].
 14
                        I.    At least one accessible route must be provided from
 15
      public transportation stops, accessible parking, and accessible passenger
 16
      loading zones, and public streets or sidewalks to the accessible building
 17
      entrance they serve. The accessible route must, to the maximum extent
 18

 19
      feasible, coincide with the route for the general public, must connect

 20   accessible buildings, facilities, elements, and spaces that are on the same
 21   site, and at least one accessible route must connect accessible building or
 22   facility entrances with all accessible spaces and elements and with all
 23   accessible dwelling units within the building or facility [1991 Standards
 24   §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 25                     J.    Slopes of a path of travel along an accessible route
 26   cannot exceed 1:48 [2010 Standards § 304.2].
 27               27.   The Defendants have failed to comply with minimum
 28                                         -12-
                                          COMPLAINT
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 1
      ADA standards and have discriminated against persons with mobility

 2
      disabilities on the basis of thereof. Each of the barriers and accessibility
 3    violations set forth above is readily achievable to remove, is the result of an
 4    alteration that was completed without meeting minimum ADA standards,
 5    or could be easily remediated by implementation of one or more available
 6    alternative accommodations. Accordingly, the Defendants have violated the
 7    ADA.
 8                28.    The Defendants are obligated to maintain in operable
 9    working condition those features of the Subject Property’s facilities and
 10   equipment that are required to be readily accessible to and usable by
 11   Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 12   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
 13   Subject Property were available and ready to be used by the Plaintiff
 14
      violates the ADA.
 15
                  29.    The Defendants have a duty to remove architectural
 16
      barriers where readily achievable, to make alterations that are consistent
 17
      with minimum ADA standards and to provide alternative accommodations
 18
      where necessary to provide wheelchair access. The Defendants benign
 19
      neglect of these duties, together with their general apathy and indifference
 20
      towards persons with disabilities, violates the ADA.
 21
                  30.    The Defendants have an obligation to maintain policies,
 22
      practices and procedures that do not discriminate against the Plaintiff and
 23
      similarly situated persons with mobility disabilities on the basis of their
 24
      disabilities. The Defendants have maintained and continue to maintain a policy of
 25

 26
      disregarding their obligations under the ADA, of allocating resources for
 27   improvements insufficient to satisfy legal requirements regarding accessibility
 28                                          -13-
                                           COMPLAINT
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 1
      improvements, of failing to conduct ADA self-inspections or create ADA

 2    compliance plans, of causing alterations to be made to the Subject Property in
 3    disregard of ADA requirements, and of failing and refusing to make necessary
 4    accommodations for persons with mobility disabilities at the Subject Property, in
 5    violation of the ADA.
 6                 31.   The Defendants wrongful conduct is continuing in that
 7    Defendants continue to deny full, fair and equal access to their business
 8    establishment and full, fair and equal accommodations, advantages,
 9
      facilities, privileges and services to Plaintiff as a disabled person due to
 10
      Plaintiff’s disability. The foregoing conduct constitutes unlawful
 11
      discrimination against the Plaintiff and other mobility disabled persons
 12
      who, like the Plaintiff, will benefit from an order that the Defendants
 13
      remove barriers and improve access by complying with minimum ADA
 14
      standards.
 15

 16
      ///
 17

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      ///

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                                           COMPLAINT
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 1
                                PRAYER FOR RELIEF

 2
            Plaintiff prays to this Court for injunctive, declaratory and all other
 3    appropriate relief under the ADA , including but not limited to reasonable
 4    attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
 5    12205.
 6          Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
            not seek injunctive relief under the Unruh Act or Disabled Persons
 7
            Act at all by way of this action.
 8
      Respectfully submitted,
 9

 10   Dated: 02/01/2022             LAW OFFICES OF ROSS CORNELL, APC
 11

 12                                 By: /s/ Ross Cornell
 13                                     Ross Cornell, Esq.,
                                        Attorneys for Plaintiff,
 14
                                        Bryan Estrada
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                                         COMPLAINT
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